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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREA KLEMKA,                     : CIVIL ACTION
                                  Plaintiff,
                                   :
                                   : No.   21-cv-2167
    v.                             :
                                   :
                                   :
HNL LAB MEDICINE, a/k/a and f/ka/  :
HEALTH NETWORK LABORATORIES L.P., :
HEALTH NETWORK LABORATORIES L.L.C. :
JOSHUA KUBAT and JULIA BARTO,      :
                   Defendants.     : JURY TRIAL DEMANDED


                                              COMPLAINT

I. PRELIMINARY STATEMENT

This is an action for an award of damages, declaratory and injunctive relief, attorney's

fees and other relief on behalf of Plaintiff, Andrea Klemka (hereinafter “Plaintiff”).

Plaintiff was an employee of Defendant HNL Lab Medicine a/k/a and/or f/k/a Health

Network Laboratories, L.P. (hereinafter “HNL”), who has been harmed by disability

discrimination as well as other improper conduct by HNL and its agents, servants, and

representatives.

        This action is brought under the Americans with Disabilities Act (ADA) and the

Family and Medical Leave Act (FMLA) 1.

II. JURISDICTION AND VENUE

        1.       The original jurisdiction and venue of this Court is invoked in this District

pursuant to 28 U.S.C. §1331, 1391, 2201, 2202, 1343 and the claim is substantively based


1
 Plaintiff has also filed a Complaint of Discrimination with the Pennsylvania Human Relations Commission, and
will be seeking to amend this Complaint once those claims have become ripe in September 2021.
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on the Americans with Disabilities Act, 42 U.S.C. §12102, et seq. and the Family and

Medical Leave Act (“FMLA”), 29 U.S.C. §2601, et seq..

      2.       Venue is proper in the Eastern District of Pennsylvania as some or all of the

events complained of herein occurred in Lehigh County, Pennsylvania.

      3.       All conditions precedent to the institution of this suit have been fulfilled. As

to the Federal ADA claims, Plaintiff has invoked the procedure set forth in the ADA and

has received a Notice of Right to Sue as required. On August 28, 2020, Plaintiff filed a

Charge of Discrimination with the EEOC against HNL, alleging, inter alia age and

disability-based employment discrimination. On February 23, 2021, a Notice of Right to

Sue was issued by the United States Equal Employment Opportunity Commission.

      4.       This action has been filed within ninety (90) days of receipt of said Notice.

III. PARTIES

      5.       Plaintiff, Andrea Klemka, is an adult female citizen, age 29, and a citizen

and resident of the Commonwealth of Pennsylvania.

      6.       HNL Lab Medicine a/k/a and/or f/k/a Health Network Laboratories, L.P.

is a medical laboratory providing testing and related services to physician offices,

hospitals, long-term care facilities, employers and industrial accounts. HNL Lab Medicine

has more than 60 locations throughout Pennsylvania and New Jersey, and generates

more than 60 million clinical and anatomic pathology results for approximately 3 million

patients and 12,000 healthcare providers each year.

      7.       Health Network Laboratories, L.L.C. (HNL LLC) is a limited liability

company organized and/or doing business under the laws of the Commonwealth of

Pennsylvania in Allentown, Lehigh County, Pennsylvania.
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        8.       At all times material hereto, HNL LLC was the General Partner of HNL.

        9.       As used herein, “HNL” refers to HNL LP and HNL LLC collectively, and

individually as context may require.

        10.      At all times material hereto, Joshua Kubat has been a resident and citizen

of the Commonwealth of Pennsylvania, and has been employed by Defendant HNL as

Human Resources Manager. At all times relevant hereto, Kubat was an agent, servant,

workman and/or employee of HNL, acting and/or failing to act within the scope, course,

and authority of his employment with her employer, HNL. At all times relevant, Kubat

was acting in his supervisory and/or personal capacity.

        11.      At all times material hereto, Julia Barto has been a resident and citizen of

the Commonwealth of Pennsylvania, and has been employed by Defendant HNL as Vice

President of Human Resources. At all times relevant hereto, Barto was an agent, servant,

workman and/or employee of HNL, acting and/or failing to act within the scope, course,

and authority of her employment with her employer, HNL. At all times relevant, Barto

was acting in her supervisory and/or personal capacity.

        12.        At all times relevant herein, Plaintiff was an “employee” as defined by the

ADA, the FMLA and the Pennsylvania Human Relations Act (PHRA) 2, and is protected

by the provisions of the Acts.

        13.      At all times relevant herein, HNL was an “employer” as defined by the ADA,

FMLA and the PHRA, and is subject to the provisions of the Acts.



2
 Although Plaintiff exhausted her administrative remedies under the Pennsylvania Human Relations Act, less than
one year has expired since the filing of the Charge on June 4, 2020, and therefore no claim is being made under the
PHRA at this time. Plaintiff intends to seek consent or leave of Court to file a Second Amended Complaint on or
after August 28, 2021.
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         14.    At all times relevant hereto, HNL acted by and/or failed to act by and

through the conduct of its officers, managers, agents, and employees, all acting within the

scope and course of their employment.

         15.    At all times material hereto, HNL employed more than fifteen employees.

         16.    At all times material hereto, HNL employed more than fifty employees

within a seventy-five mile radius of Plaintiff’s work site.

IV. CAUSES OF ACTION


         17. Plaintiff is a qualified person with a disability who is protected from disability-

based discrimination and retaliation under the ADA and PHRA.

         18. In addition, as set forth below, Plaintiff requested and utilized FMLA leave

because of her own serious medical condition, and was entitled to, requested and utilized

medical leave as a reasonable accommodation under the ADA and PHRA.

         19. At all relevant times hereto, Plaintiff had been employed since 2014 by

Defendant HNL as a “Medical Laboratory Technician” and performed her work and job

duties in a proper and competent manner.

         20. In the twelve month period preceding Plaintiff’s request for Family and Medical

Leave, she had worked more than 1250 hours, and had not used any Family Medical

Leave.

         21.    Plaintiff’s supervisors, for purposes of this action, were Joshua Kubat (HR

Director) and and Julia Barto (Vice President of Human Resources).

         22.    Plaintiff was diagnosed at birth with a medical condition that is a disability

as that term is defined by the ADA, as amended by the ADAAA, because it is a chronic

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condition that substantially limits one or more major life activities. 3

       23.     On or about April 10, 2020, Plaintiff requested an ADA leave of

absence/FMLA leave from HNL because her condition put her at higher risk of

complications should she become infected with COVID-19.

       24.     HNL, acting through Kubat and Barto, purported to grant Plaintiff’s request

for an ADA leave of absence/FMLA leave from April 13, 2020 to June 15, 2020.

       25.     Within that period of protected FMLA leave, Kubat and Barto determined

to terminate Plaintiff’s employment.

       26.     However, on May 18, 2020, during Plaintiff’s medical leave of absence,

Plaintiff was informed by Kubat, acting on the direction or with the acquiescence of

Barto, by phone that her employment with HNL was being terminated “effective

immediately.”

       27.     Kubat’s stated reason for termination was that Plaintiff was “holding other

employment” during her leave.

       28.     This stated reason is false and manufactured.

       29.     By letter of May 18, 2021, Kubat reiterated the decision that reach in

conjunction with Barto, that Plaintiff was being terminated for “holding other

employment during a leave of absence.”



3
  Plaintiff refrains from identifying the disabling medical condition because of medical privacy
concerns, and in any event is not required to do so to state a claim under the ADA. See e.g. “Balliet v.
Scott's Auto Serv., Inc., Civil Action No. 11-cv-05394, at *12 (E.D. Pa. Mar. 29, 2013); Matthews v. Pa.
Dep't of Corr., 613 F. App'x 163, 167 (3rd Cir. 2015) (“What matters is not the name or diagnosis of the
impairment but 'the effect of the impairment on the life of the individual”).



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      30.     At no time did Plaintiff hold any other employment while she was on leave

of absence.

      31.     Despite close to six years of loyal service, Plaintiff was terminated as a

direct result of Defendant’s discriminatory animus.

      32.     At no time did Kubat, Barto or anyone acting on behalf of HNL conduct

any investigation to determine whether their allegations against Plaintiff were true.

      33.     Furthermore, to the extent that HNL maintains a policy that would

prevent an employee from engaging in gainful activity during FMLA leave, such a policy

is void under the FMLA and against public policy as expressed in the FMLA and/or ADA

and/or PHRA.

      34.     Specifically, Plaintiff was discriminated against and retaliated against

based on her disabilities in violation of the ADA and PHRA.

      35.     Furthermore, despite Defendants’ recognition that Plaintiff was entitled to

a period of FMLA because of her serious medical condition, Defendants interfered with

that right by terminating her employment without just cause.

      36. Plaintiff has suffered severe emotional distress, loss of back pay, front pay, and

compensatory damages, as well as incurred attorney’s fees and costs.

      37.     HNL was responsible and liable for the conduct of its principals, employees,

and agents for subjecting Plaintiff to a discriminatory employment and work

environment, and for failing to protect Plaintiff from unlawful conduct.

      38.     As a direct result of the actions of HNL’s supervisory employees, Plaintiff

was deprived of her employment with HNL.

      39.     As a direct result of HNL’s conduct, Plaintiff has been irrevocably damaged.
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       40.    As a direct result of HNL ’s conduct, Plaintiff has suffered and continues to

suffer severe emotional, psychological, and physical distress.

       41.    As a direct result of HNL’s conduct, Plaintiff’s career, professional, and job

opportunities have been impaired and damaged and she has suffered a loss of earnings

and earning capacity.


                                     COUNT I
                                 PLAINTIFF v. HNL
                              VIOLATION OF THE ADA

       42. Paragraphs 1 through 41 inclusive, are incorporated by reference as if fully set

forth at length herein.

       43. The said unlawful practices for which Defendant is liable to Plaintiff include,

but are not limited to denying of a reasonable accommodation for her disabling

condition, failing to engage in an interactive process with regard to a reasonable

accommodation, and terminating her employment because of her disability and to avoid

its obligation to provide a reasonable accommodation.

       44. As a direct result of Defendants’ willful and unlawful actions in the

discrimination and retaliation set forth herein, Plaintiff has sustained, severe emotional

distress, loss of earnings, plus the failure of the aforementioned benefits, plus loss of

future earning power, plus back pay, front pay, and interest due thereon.

                                 COUNT II
                             PLAINTIFF v. HNL
                    VIOLATION OF THE ADA - RETALIATION

       45.    Paragraphs 1 through 44 inclusive, are incorporated by reference as if fully

set forth at length herein.

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       46. The said unlawful practices for which Defendant is liable to Plaintiff include,

but are not limited to terminating her employment in retaliation for making requests for

reasonable accommodation and for utilizing leave as a reasonable accommodation.

       47. As a direct result of Defendants’ willful and unlawful actions in aiding and

abetting in the discrimination and retaliation set forth herein, Plaintiff has sustained,

severe emotional distress, loss of earnings, plus the failure of the aforementioned

benefits, plus loss of future earning power, plus back pay, front pay, and interest due

thereon.



                               COUNT III
                      PLAINTIFF v. ALL DEFENDANTS
                 VIOLATION OF THE FMLA – INTERFERENCE,
                      RETALIATION/DISCRIMINATION

       48. Paragraphs 1 through 47 inclusive, are incorporated by reference as if fully set

forth at length herein.

       49. The termination of Plaintiff’s employment during protected Family and

Medical Leave without just cause constitutes interference under the FMLA.

       50. In addition, Defendants are liable because they terminated her employment in

retaliation for making requests for and for utilizing protected FMLA leave.

      51. As a direct result of Defendants’ willful and unlawful actions set forth herein,

Plaintiff has sustained loss of earnings, plus the failure of the aforementioned benefits,

plus loss of future earning power, plus back pay, front pay, and interest due thereon.



V. PRAYER FOR RELIEF

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    52. Paragraphs 1 through 51 inclusive, are incorporated by reference as if fully set

       forth at length herein.

    WHEREFORE, Plaintiff respectfully requests the Court to:

           a. Exercise jurisdiction over her claims;

           b. Issue declaratory and injunctive relief declaring the above-described

              practices to be unlawful, and enjoining their past and continued effects;

           c. Award     compensatory damages,         including   but   not   limited   to

              reimbursement of all medical and psychological expenses; back pay and

              future earnings and loss of earning capacity in the amount of wages and

              benefits; damages for Plaintiff’s mental, psychological, and emotional

              injuries, anguish, humiliation, anxiety, physical and mental pain, and

              suffering and loss of life’s pleasures, all of which may be permanent,

              together with interest, resulting from HNL’s discriminatory and

              unlawful conduct;

           d. Reinstate Plaintiff to her former position together with back pay and

              compensatory damages;

           e. Award punitive and/or liquidated damages as may be permitted under

              law;

           f. Award Plaintiff attorneys’ fees and costs; and

           g. Grant such other relief, as the Court deems just and equitable.

VI. JURY DEMAND

    Plaintiff demands trial by jury on all issues so triable.


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Date: May 12, 2021




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